                                                             Case 18-36881 Document 201 Filed in TXSB on 08/22/19 Page 1 of 16
                                                                                                                                                                                                                                          J

t,IOR-1                                                  UNITED STATES BANKRUPTCY COURT
:ASE NAME:      L REIT, LTD.
                                                                                                                                      PETITION DA TE:              12/5/2018 0:00
•-ASE NUMBER:   18-36881
                                                                                                                                      district of TEXAS:        Southern
'ROPOSED PLAN DATE:                        3/5/2019
                                                                                                                                      DIVISION:                 Houston

                          MONTHL Y OPERA TING REPORT SUMMARY                                                    FOR MONTH                                                                   YEAR                   YEAR
                                           MONTH             Dec. 2018               Jan. 2019                  Feb. 2019             Mar. 2019                 Apr. 2019                   May. 2019
                     i                                                                                                                                                                                             Jun. 2019
\E VENUES (MOR-6)
                                                               286,681.05                445,625.36                  510,608.40                 573,277.07                     544,751.02           447,078.06            573,513.31
NCOME BEFORE INT; DEPREC./TAX (MOR-6)                           194,386.27               272,852.99                 384,686.05                  456,447.21                     364,577.82           269,521.60            447,625.53
JET INCOME (LOSS) (MOR-6)                                      -122,154.47                -43,916.89                  67,916.17                 139,677.33                      47.807.94
•A YMENTS TO INSIDERS (MOR-9)                                                                                                                                                                       -47,248.28            130,855.65
                                                                         0.00              13,003.47                    1,050.00                   1,050.00
'A YMENTS TO PROFESSIONALS (MOR-9)
                                                                                                                                                                                     0.00               1,050.00               1,050.00
                                                                         0.00                      0.00                        0.00                      0.00                   10,000.00                   0.00
'OTAL DISBURSEMENTS (MORS)                                                                                                                                                                                                         0.00
                                                                 13, 357. 40             172,515.00                 222,180.74                  119,930,65                     180,173.20           176,565.50            169,036.50

**Thc original of this document must be filed with the United States Bankruptcy
                                                                                Court and a copy must be sent to the United States Trustee ***

                                                                                                                                                                CIRCLE ONE
'EQUIRED INSURANCE MAINTAINED
                                                                                Are all accounts receivable being collected within terms?
                                                                                                                                                                /yes;     No
  AS OF SIGNATURE DATE                                EXP.                      Are all post-petition liabilities, including taxes, being paid within terms?
                                                                                                                                                                Yes      (No)
                                                      DATE                      Have any pre-petition liabilities been paid?
                                                                                                                                                                Yes     (No)2
ASUALTY                   YES (X) NO ( )                       10/31/2019        If so, describe
IABILITY                 YES (X) NO ( )                        10/31/2019       Are all funds received being deposited into DIP bank accounts?
                                                                                                                                                                Yes      (No)3
EHICLE                   YES ( ) NO (X)                                         Were any assets disposed of outside the normal course of business?
                                                                                                                                                                Yes      (No)
/ORKER'S                 YES ( ) NO (X)                                          If so, describe
'THER                    YES (X) NO ( )                        10/31/2019       Are all U.S. Trustee Quarterly Fee Payments current?
                                                                                                                                                                (Yes)     No
                                                                                What is the status of your Plan of Reorganization?
                                                                                                                                                                A plan has not been Tiled.



ttorney name: Melissa A. Haselden
                                                                                                                 I certify under penalty ofperjury that the following complete
IRM NAME:       Hoover Slovacek LLP
                                                                                                                Monthly Operating Report (MOi                    is/jng of MOR- / through
DDRESS:         Galleria Tower II
                                                                                                                MOR-9 plus attachmenfyriftrue and correcl
                5051 Westheimer, 12th Floor
ity.state.ZIP   Houston, TX 77046
                                                                                                               SIGNED X
                                                                                                                                                                      'ITLE:
ELEPHONE/FAX: (713) 977-8686


IOR-1
                                                                                                                     Mog- 10 <0RlGINALSIGNATURE)
                                                                                                                        (PRINT NAME OF SIGNATORY)                                 DA TE      Revised 07/01/98



3ursuant to the Court's cash collateral order, rents are deducted each
                                                                       month from the Wells Fargo Lockbox Account controlled by the Secured
                                                                                                                                            Noteholder.
See notes in MOR-8 regarding inadvertant post-petition accounts to
                                                                     DIP Account
See notes in MOR-8 regarding funds deposited into Secured Noteholder
                                                                        's Lockbox Account.
                                                           Case 18-36881 Document 201 Filed in TXSB on 08/22/19 Page 2 of 16



MOR-1                                                      UNITED STATES BANKRUPTCY COURT
CASE NAME:          L REIT, LTD.                                                                                                      PETITION DATE:              12/5/2018 0:00
CASENUMBER:         18-36881                                                                                                          district of texas:        Southern
PROPOSED PLAN DATE:                           3/5/2019                                                                                DIVISION:                 Houston


                            MONTHLY OPERATING REPORT SUMMARY                                                    FOR MONTH                                                                YEAR
                                              MONTH             Jul-19
REVENUES (MOR-6)                                                 585,383.09                        0.00                      0.00                        0.00                     0.00                       0.00    0.00
INCOME BEFORE INT; DEI'REC. /TAX (MOR-6/                         414,375.56                        0.00                      0.00                        0.00                     0.00                       0.00    0.00
NET INCOME (LOSS) (MOR-6)                                         97,834.82                        0.00                      0.00                        0.00                     0.00                       0.00    0.00
PA YMENTS TO INSIDERS (MOR-9)                                      1.050.00                        0.00                        0.00                      0.00                     0.00                       0.00    0.00
PA YMENTS TO PROFESSIONALS (MOR-9)                                       0.00                      0.00                       0.00                       0.00                     0.00                       0.00    0.00
TOTAL DISBURSEMENTS (MORS)                                       171,007.53                        0.00                       0.00                       0.00                     0.00                       o.ool   0.00

***Thc original of this document must be filed with the United States Bankruptcy Court and a copy must be sent to the United Stales Trustee***

                                                                                                                                                                CIRCLE ONE
REQUIRED INSURANCE MAINTAINED                                                   Are all accounts receivable being collected within terms?                       (Yes)    No
     AS OF SIGNA TURE DA TE                              EXP.                   Are all post-petition liabilities, including taxes, being paid within terms?    Yes     (No)
                                                         DATE                   Have any pre-petition liabilities been paid?                                    Yes     (No)2
CASUALTY                     YES (X) NO ( )                      10/31/2019      If so, describe
LIABILITY                   YES (X) NO ( )                       10/31/2019     Are all funds received being deposited into DIP bank accounts?                  Yes     (No)3
VEHICLE                     YES ( ) NO (X)                                      Were any assets disposed of outside the normal course of business?              Yes     (No)
WORKERS                     YES () NO (X)                                        If so, describe
OTHER                       YES (X) NO ( )                       10/31/2019     Are all U.S. Trustee Quarterly Fee Payments current?                            (Yes)    No
                                                                                What is the status of your Plan of Reorganization?                              A plan has not been filed.




attorney name: Melissa A. Haselden                                                                               / certify under penalty ofperjuiy that the following complete
FIRM NAME:          Hoover Slovacek LLP                                                                         Monthly Operating Report (MOR), consisting of MOR-1 through
ADDRESS:            Galleria Tower II                                                                           MOR-1 plus attachments, is true and correct.
                    5051 Westheimer, 12th Floor
city, state. ZIP:   Houston, TX 77046                                                                          SIGNED X                                            TITLE:
TELEPHONE'FAX: (713) 977-8686
                                                                                                                                        (ORIGINAL SIGNATURE)


MOR-1                                                                                                                    (PRINT NAME OF SIGNATORY)                              DA TE        Revised 0 7/0 1/98



1
    Pursuant to the Court's cash collateral order, rents are deducted each month from the Wells Fargo Lockbox Account controlled by the Secured Noteholder.
2See notes in MOR-8 regarding inadvertant post-petition accounts to DIP Account
3See notes in MOR-8 regarding funds deposited into Secured Noteholder's Lockbox Account.
                                                   Case 18-36881 Document 201 Filed in TXSB on 08/22/19 Page 3 of 16



      CASE NAME:      L REIT, LTD.
      CASE NUMBER: 18-36881




                                                    COMPARATIVE BALANCE SHEETS
ASSETS                                             FILING DATE*     MONTH                 MONTH                MONTH             MONTH              MONTH              MONTH              | MONTH
                                               12/5/2018 0:00         12/31/2018 0:00           Jan. 2019        Feb. 2019       Mar. 2019          Apr. 2019          May. 2019          Jun. 2019
CURRENT ASSETS
                                                                                                   hmmm             - ~

                                                                                                                                                                                                        MB
Cash                                                   83,433.73            115,260.99             86,264.85        141,898.00        141,898.00          188,390.00         37,343.03               44,198.73
Wells Fargo Lock Box                                   38,695.73           238,681.89             359,360.51        378,698.64        431,379.07         356,361.02         881,487.73             981,827.66
Inventory: Lower of Cost or Market

Prepaid Expenses

Investments

Other'                                              $286,681.05
TOTAL CURRENT ASSETS 2
                                                      408,810.51           353,942.88            445,625.36        520,596.64         573,277,07         544,751.02         918,830.76          1,026,026.39
PROPERTY, PLANT & EQUIP. @ COST                    74,000,000.00        74,000,000,00       74,000,000.00        74,000,000.00     74,000,000,00      74,000,000,00      74,000,000.00         74,000,000.00
Less Accumulated Depreciation                      14,578,249.00        16,036,856.00       16,158,635.72        16,280,415.44     16,402,195.16       16,523,974.88     16,523,974,88         16,645,754.60
NET BOOK VALUE OF PP & E                           59,421,751.00        57,963,144,00       57,841,364.28        57,719,584.56     57,597,804.84      57,476,025.12      57,476,025.12        57,354,245.40
OTHER ASSETS

 1. Tax Deposits'                                   1,099,802.24         1,099,802.24            $30,515.72       $336,938.44         367,454.16         397,969.88         482,485.60             578,982.721
 2.    Investments in Subsidiaries
                                                             0.00                  0.00                 0.00              0.00               0.00               0.00               0.00
 3. Electric Deposit4                                                                                                                                                                                        0.00
                                                             0.00                  0.00                 0.00         44,000,00         44,000,00          44,000.00          44,000.00
 4. Insurance                                                                                                                                                                                       44,000.001
                                                       43,845.21            43,845.21              12,432.38         24,864.76         37,297.14          49,729.52          62,161.90
 5. Reserve Escrow Balance5                                                                                                                                                                         74,594.28|
                                                      123,893.43           123,893.43             44,625.00          89,250.00        133,875.00         178,500.00         223,125.00            267,750.00]
TOTAL ASSETS                                  $61,098,102.39         $59,584,627.76       $58,374,562.74       $58,735,234.40    $58,753,708.21     $58,690,975.54     $59,206,628.38      $59,345,598.79
                                             * Per Schedules and Statement of Affairs
              MOR-2
                                                                                                                                                                                          Revised 07/01/98

'Outstanding rent owed to Debtor as of the Petition Date
2Total amount equal to rents collected in March.
\jpon information and belief a total of $1 ,069,286.52 was paid by the Secured Noteholder
                                                                                          in January 2019 leaving a balance of $30,51 5.72 as of January 201 9. Deposits are
Noteholde and amounts should have increased post-petition but                                                                                                                also maintained y the Secured
                                                                    are unknown at this time.
4Adequate assurance deposit made pursuant to cash collateral order. Check cleared
                                                                                  in February.
5Deposits maintained by Secured Noteholder per Loan Agreements. Amounts listed
                                                                                 are as of petition date and should have increased post-petition but are unknown at this
                                                                                                                                                                         time.
                                                Case 18-36881 Document 201 Filed in TXSB on 08/22/19 Page 4 of 16
                                                                                                                                                                                              J

   CASE NAME:        L REIT, LTD.
  CASE NUMBER: 18-36881




                                                 COMPARATIVE BALANCE SHEETS
ASSETS                                      MONTH                  MONTH                MONTH               MONTH            MONTH              MONTH               MONTH                  MONTH
                                              7/1/2019 0:00
CURRENT ASSETS
                                                                       hh9hhhhhhhhhi HI=
Cash
                                                  .


                                                       83,433.73                 0.00                0.00             0.00
                                                                                                                                                                                              1=
                                                                                                                                         0.00                0.00                 0.00                      0.00
Wells Fargo Lock Box                                   38,695.73                 0.00                0.00             0.00               0.00                0.00                 0.00                      0.00
Inventory: Lower of Cost or Market

Prepaid Expenses

Investments

Other1                                           $286,681.05
TOTAL CURRENT ASSETS7                              408,810.51                    0.00                0.00             0.00               0.00                0.00                0.00                       0.00
PROPERTY, PLANT & EQUIP. @ COST                74,000,000.00                     0.00                0.00            0.00                0.00                0.00                 0.00                      0.00
Less Accumulated Depreciation                  16,645,754.60                     0.00                0.00            0.00                0.00                0.00                 0.00                      0.00
NET BOOK VALUE OF PP & E                       57,354,245.40                     0.00                0.00            0.00                0.00                0.00                0.00                       0.00
OTHER ASSETS

 1 . Tax Deposits7
                                                                                                .

                                                                                                                                         HHHHIHH
                                                      578,982.72                 0.00               $0.00           $0.00                0.00                0.00                0.00                       0.00
 2. Investments in Subsidiaries                             0.00                 0.00                0.00            0.00                0.00                0.00                0.00                       0.00
 3. Electric Deposit4                                  44,000,00                 0.00                0.00            0.00                0.00                0.00                0.00                       0.00
 4. Insurance1                                         74,594,28                 0.00                0.00            0.00                0.00                0.00                0.00                       0.00
 5. Reserve Escrow Balance5                       267,750.00                     0.00                0.00            0.00                0.00                0.00                0.00                       0.00
TOTAL ASSETS                                 $58,728,382.91                   $0.00             $0.00               $0.00              $0.00              $0.00
                                                        '                          =                                                                                            $0.00                   $0.00
                                            * Per Schedules and Statement of Affairs
              MOR-2
                                                                                                                                                                                         Revised 07/01/98

Outstanding rent owed to Debtor as of the Petition Date
2Total amount equal to rents collected in March.
3Upon information and belief a total of $1 ,069,286.52 was paid by the Secured Noteholder in January 2019 leaving
                                                                                                                  a balance of $30,515.72 as of January 2019. Deposits are also maintained y the Secured
Noteholde and amounts should have increased post-petition but are unknown at this time.
"'Adequate assurance deposit made pursuant to cash collateral order. Check cleared in February.
''Deposits maintained by Secured Noteholder per Loan Agreements. Amounts listed are as of petition
                                                                                                   date and should have increased post-petition but are unknown at this time.
         CASE NAME:       1   REIT, LTD.
         CASE NUMBl           J-36881
                                                     Case 18-36881 Document 201 Filed in TXSB on 08/22/19 Page 5 of 16


                                                 COMPARATIVE BALANCE SHEETS
LIABILITIES & OWNER'S                          FILING DATE*       MONTH                  MONTH                 MONTH             MONTH                 MONTH                 MONTH              | MONTH
EQUITY                                       12/5/2018 0:00         12/31/2018 0:00         Jan. 2019            Feb. 2019       Mar. 2019             Apr. 2019             May. 2019            Jun. 2019
LIABILITIES
                                           flHMMHi MHMMNI MttNBHH HMMMH MM                                                                 I                     mi
POST-PETITION LlABILITIES(MOR-4)
                                                                          319,039.57|          258,411.93           277,036.47           328,784,27|           367,336.70|         384,972.60||            383,664.801
PRE-PETIHON LIABILITIES
                                                                                                    _


 Notes Payable - Secured

1.) Midland Loan Services'                     50,488,334.82          50,488,334.82         50,488,334.82        50,488,334.82      50,488,334.82          50,488,334.82        50,488,334,82          50,488,334,82
2.) Bancorp South2                             11,000,000.00           11,000,000.00        11,000,000.00        11,000,000.00       11,000,000.00         11,000,000.00        11,000,000.00          11,000,000.00
3.) Cypress Fairanks ISDJ                          663,978.89             663,978.89                    0.00              0.00                 0.00                  0.00                0.00                      0.00
4.) Harris County et al                            405,317.63             405,317.63                    0.00              0.00                 0.00                  0.00                0.00                      0.00
5.) Misc. M&M Lien4                                 24,005.00              24,005.00           $55,802.37           $55,802.37            55,802.37             55,802.37           55,802.37                55,802.37
Priority Debt                                              0.00                   0.00               0.00                 0.00                 0.00                  0.00                0.00                      0.00
Federal Income Tax                                         0.00                   0.00               0.00                 0.00                 0.00                  0.00                0.00                      0.00
FICA/Withholding
                                                           0.00                   0.00               0.00                 0.00                 0.00                  0.00                0.00
Unsecured Debt-Trade Creditors                                                                                                                                                                                     0.00
                                                   888,525.93             888,525.93           888,525.93           888,525.93           888,525.93            888,525.93          888,525.93
Unsecured Debit-Insiders or Affiliates
                                                                                                                                                                                                           888,525.93
                                                3,104,539.91            3,104,539.91         3,104,539,91         3,104,539.91       3,104,539.91           3,104,539.91         3,104,539.91
TOTAL PRE-PETITION LIABILITIES
                                                                                                                                                                                                        3,104,539.91
                                               66,574,702.18          66,574,702,18         65,537,203.03        65,537,203.03      65,537,203.03         65,537,203.03         65,537,203.03          65,537,203.03
TOTAL LIABILITIES                              66,574,702.18          66,893,741.75        65,795,614.96         65,814,239.50      65,865,987.30         65,904,539.73         65,922,175.63         65,920,867.83
DWNER'S EQUITY (DEFICIT)

PREFERRED STOCK
                                                           0.00                   0.00               0.00
                                                                                                                                           HMMM                    m          mnmmbmmmmm
                                                                                                                          0.00                 0.00                  0.00                0.00
COMMON STOCK
                                                                                                                                                                                                                   0.00
                                                          0.00                    0.00               0.00                 0.00                 0.00                  0.00                0.00                      0.00
ADDITIONAL PAID-IN CAPITAL                                0.00                    0.00               0.00                 0.00                 0.00                  0.00                0.00                      0.00
RETAINED EARNINGS: Filing Dale
                                                          0.00                    0.00               0.00                 0.00                 0.00                  0.00                0.00
RETAINED EARNINGS: Post Filing Date
                                                                                                                                                                                                                   0.00
                                                          0.00           -122,154.47          -166,071,36           -98,155.19           41,522.14             89,330.08           42,081.80
-OTAL OWNER'S EQUITY (NET WORTH)
                                                                                                                                                                                                           172,937.45
                                                          0.00           -122,154.47         -166,071.36            -98,155.19
1'OTAL                                                                                                                                   41,522.14             89,330.08           42,081.80               172,937.45
LABILITIES &
3VVNERS EQUITY
                                            $66,574,702.18         $66,771,587.28         $65,629,543.60       $65,716,084.31     $65,907,509.44        $65,993,869.81        $65,964,257.43       $66,093,805.28
                                           * Per Schedules and Statement of Affairs
            MOR-3
                                                                                                                                                                                                Revised 07/01/98

Represents the amount scheduled by L REIT. L REIT reserves the
                                                               right to contest the amounts Secured Notholder claims it is owed in
                                                                                                                                   its proof of claim.
Estimated amount per L REIT's schedules. L REIT has disputed the deb
                                                                       on its schedules as the claim may be subject to avoidance.
Paid by Secured Noteholder from Tax Deposit Escrow per cash collateral
                                                                       order.
Post-petition several creditors have filed notice of perfection of M&M
                                                                       Liens. Kilgore Industries, LP has asserted an additional amount of
                                                                                                                                          $14,776.13 is owed. Spring Glass & Mirror, Ltd. has asserted a lien
he amount of $1 7,021 .24.                                                                                                                                                                                    in
            CASE NAM        L REIT, LTD.
                                                     Case 18-36881 Document 201 Filed in TXSB on 08/22/19 Page 6 of 16
           CASE NUML        18-36881




                                                  COMPARATIVE BALANCE SHEETS
    LIABILITIES & OWNER'S month                                     MONTH                  MONTH               MONTH                MONTH                 MONTH                MONTH               MONTH
    EQUITY                                     7/1/2019 0:00
                                                                                           —
LIABILITIES

POST-PETITION LIABlUTIES(MOR-4)                              0.00                   0.00                0.00                 0.00                  0.00                 0.00              0.00                        0.00
PRE-PETITION LIABILI TIES

    Notes Payable - Secured

    1.) Midland Loan Services'                   56,595,034,50                      0.00               0.00                  0.00                  0.00                 0.00              0.00                        0.00
2.) Bancorp South'                                           0.00                   0.00               0.00                  0.00                  0.00                 0.00             0.00                         0.00
3.) Cypress Fai ranks ISDJ                           663,978.89                     0.00               0.00                  0.00                  0.00                 0.00             0.00                         0.00
4.) Harris County et al                             405,317.63                      0.00               0.00                  0.00                  0.00                 0.00             0.00                         0.00
5.) Misc. M&M Lien'                                   24,005.00                     0.00              $0.00                $0.00                   0.00                 0.00             0.00                         0.00
    Priority Debt                                 7,143,515.16                      0.00               0.00                  0.00                  0.00                 0.00             0.00                         0.00
    Federal Income Tax                                       0.00                   0.00               0.00                  0.00                  0.00                 0.00             0.00                         0.00
    FICA/Withholding                                         0.00                   0.00               0.00                  0.00                  0.00                 0.00             0.00                         0.00
    Unsecured Debt-Trade Creditors                  237,430.05                      0.00               0.00                  0.00                  0.00                 0.00             0.00                         0.00
    Unsecured Debit-Insiders or Affiliates       13,253,092.55                      0.00               0.00                  0.00                  0.00                 0.00             0.00                         0.00
TOTAL PRE-PETITION LIABILITIES                   78,322,373.78                      0.00               0.00                  0.00                  0.00                 0.00             0.00                         0.00
TOTAL LIABILITIES                                78,322,373.78                      0.00               0.00                 0.00                   0.00                0.00              0.00                        0.00
OWNER S EQUITY (DEFICIT)                                                                                         -
                                                                                                                                                                  -
                                                      —

                                                                                                                                                   _

    PREFERRED STOCK
                                                            0.00                    0.00               0.00                  0.00                  0.00                 0.00             0.00                        0.00
    COMMON STOCK                                            0.00                    0.00               0.00                 0.00                   0.00                0.00              0.00                        0.00
    ADDITIONAL PAID-IN CAPITAL                              0.00                    0.00               0.00                 0.00                   0.00                0.00              0.00                        0.00
    RETAINED EARNINGS:    Filing Date                       0.00                    0.00               0.00                 0.00                  0.00                 0.00              0.00                        0.00
    RETAINED EARNINGS: Post Filing Date                     0.00                    0.00               0.00                 0.00                  0.00                 0.00              0.00                        0.00
TOTAL OWNER'S EQUITY (NET WORTH)                            0.00                    0.00               0.00                 0.00                   0.00
TOTAL
                                                                                                                                                                       0.00              0.00                        0.00
LIABILITIES &
OWNERS EQUITY
                                              $78,322,373.78                     $0.00               $0.00                $0.00                 $0.00                 $0.00            $0.00                        $0.00
                                             * Per Schedules and Statement of Affairs
               MOR-3
                                                                                                                                                                                                 Revised 07/01/98
1
    Represents the amount scheduled by L REIT.      L REIT reserves the right to contest the amounts Secured Notholder claims it is
                                                                                                                                    owed in its proof of claim.
^Estimated amount per L REIT's schedules. L REIT has disputed the deb on its schedules as the claim may be
                                                                                                           subject to avoidance.
3Paid by Secured Noteholder from Tax Deposit Escrow per cash collateral order.
'Post-petition several creditors have filed notice of perfection of M&M Liens. Kilgore Industries, LP has
                                                                                                          asserted an additional amount of $14,776.13 is owed. Spring Glass & Mirror, Ltd. has asserted a lien
the amount of $1 7,021 .24.                                                                                                                                                                                    in
                                                   Case 18-36881 Document 201 Filed in TXSB on 08/22/19 Page 7 of 16



 CASE NAME:         L REIT, LTD.
 CASE NUMBER:       18-36881



                                    SCHEDULE OF POST-PETITION LIABILITIES

                                                     MONTH                   MONTH                 MONTH                 MONTH               MONTH                   MONTH                MONTH
                                                          Dec. 2018             Jan. 2019             Feb. 2019          Mar. 2019           Apr. 2019              May. 2019            Jun. 2019
TRADE ACCOUNTS PA TABLE

TAX PAYABLE

 Federal Payroll Taxes

 State Payroll Taxes

 Ad Valorem Taxes

 Other Taxes

TOTAL TAXES PAYABLE
                                                                      0.00                  0.00                  0.00                0.00                   0.00                0.00                        0.00
SECURED DEBT POST-PETITION

ACCRUED INTEREST PAYABLE1                                   194,990.16           194.990.16            194.990.16               194.990.16          194,990.16            194,990.16              194,990.16
ACCRUED PROFESSIONAL FEES*2                                  31,754.63             31,754,63            28,049.08                39,845.74           39,845.74
 ITHER ACCRUED LIABILITIES
                                                                                                                                                                           39, 845.74|              39,845.74

 1. MOR-4 Other Accrued Liabilities (attachment)             92,294.78             31,667.14             50,291.68              133,794.11          132,500.80            150,136.70               148,828.90
 2.

 3.

|TOTAL POST-PETITION LIABILITIES (MOR-3)                  $319,039.57          $258,411.93           $273,330.92             $368,630.01         $367,336.70            $384,972.60 1          $383,664.80
 •Payment requires Court Approval                                                                                                                        =



       MOR-4
                                                                                                                                                                                         Revised 07/111 OK

'This amount is deducted each month from the Wells Fargo Lockbox Account
                                                                         controlled by the Secured Noteholder as adequate assurance.
2Total fees and expeneses incurred by Hoover Slovacek, LLP. The amounts will be
                                                                                deducted from the remaining retainer if any.
                                                     Case 18-36881 Document 201 Filed in TXSB on 08/22/19 Page 8 of 16



 CASE NAME:          L REIT, LTD.
 CASE NUMBER:        18-36881



                                      SCHEDULE OF POST-PETITION LIABILITIES

                                                       MONTH                 MONTH                 MONTH                 MONTH               MONTH               MONTH            MONTH

                                                          Jul. 2019             Aug. 2019             Sep. 2019          Oct. 2019           Nov. 2019
TRADE ACCOUNTS PA YABLE

TAX PAYABLE

 Federal Payroll Taxes
                                                                                                                                                                                                       :
 State Payroll Taxes

 Ad V alorem Taxes

 Other Taxes

TOTAL TAXES PAYABLE                                                   0.00                  0.00                  0.00                0.00                0.00            0.00                      0.00
SECURED DEBT POST-PETITION

ACCRUED INTEREST PAYABLE1                                   194.990.16                      0.00                  0.00                0.00                0.00            0.00                      0.00
ACCRUED PROFESSIONAL FEES*2                                 31,754.63                       0.00                  0.00                0.00                0.00            0.00                      0.00
OTHER ACCRUED LIABILITIES

 1.   MOR-4 Other Accrued Liabilities (attachment)          154.731.80                      0.00                  0.00                0.00                0.00            0.00                      0.00
 2.

 3.

TOTAL POST-PETITION LIABILITIES (MOR-3)                   $381,476.59                 $0.00                 $0.00                    $0.00               $0.00           $0.00                  $0.00
 ^Payment requires Court Approval

         MOR-4
                                                                                                                                                                                 Revised 07/01/98


'This amount is deducted each month from the Wells Fargo Lockbox Account controlled by the Secured Noteholder as adequate assurance.
2Total fees and expeneses incurred by Hoover Slovacek, LLP. The amounts will be deducted from the remaining retainer if any.
                                           Case 18-36881 Document 201 Filed in TXSB on 08/22/19 Page 9 of 16



 CASE NAME:    L REIT, LTD.
 CASE NUMBER: 18-36881


                                                              AGING OF POST-PETITION LIABILITIES
                                                              MONTH                     Jul. 2019


       DAYS              TOTAL              TRADE                     FEDERAL                       STATE           AD VALOREM.
                                           ACCOUNTS                   TAXES                         TAXES           OTHER TAXES
0-30                          154,731.80        154,731.80                       0.00                        0.00                 0.00
31-60                               0.00
61-90                               0.00
91 +                                0.00
TOTAL                             $0.00       $154,731.80                       $0.00                       $0.00             $0.00                     $154,731.80

                                                              AGING OF ACCOUNTS RECEIVABLE




       MONTH



0-30 DAYS

31-60 DAYS

61-90 DAYS

91+ DAYS

"total                            $0.00               $0.00                     $0.00                       $0.00             $0.00                          $0.00

               MOR-5                                                                                                                     Revised 07/01/98
                                                                    Case 18-36881 Document 201 Filed in TXSB on 08/22/19 Page 10 of 16



         CASE NAME:         L REIT, LTD.
        CASE NUMBER: 18-36881

                                                                    STATEMENT OF INCOME (LOSS)
                                                         MONTH                      MONTH                      MONTH                MONTH                MONTH                MONTH                MONTH                FILING TO
                                                         Dec. 2018                  Jan. 2019                  Feb. 2019            Mar. 2019            Apr. 2019            May. 2019            Jun. 2019            DATE
REVENUES      (MOR-! )

1.) Wells Fargo Lock Box                                          238,681.89                  359,360.51               510,608.40           573,277.07           544,751.02           447,078.06           573,513.31         3,247,270.26
2. | Hancock Whitney Bank DIP Account                               27,088.90                     86,264.85                  0.00                 0.00                 0.00                 0.00            44,198.73            157,552.48
3.) Trustmark Account1                                              20,910.26                          0.00                  0.00                 0.00                 0.00                 0.00                 0.00             20.910.26
TOTAL COST OF REVENUES                                                      0.00                       0.00                  0.00                 0.00                 0.00                 0.00                 0.00                      0.00
CROSS PROFIT                                                      286,681.05                  445,625.36               510,608.40           573,277.07           544,751.02           447,078,06           617,712.04         2,808,020.96
OPERATING EXPENSES:

    Selling & Marketing                                                     0.00                       0.00                  0.00                 0.00            12,121.87                 0.00            17,711.43             29,833.30
    General & Administrative                                                0.00                   1,726.28              4,148.19             2,570.49             8,545.85            24,401,88             5,000.25             46,392.94
    Insiders Compensation                                                   0.00                  13,003.47              1,050.00             1,050.00                 0.00             1,050.00             1,050.00             17,203.47
    Professional Fees                                                       0.00                       0.00                  0.00                 0.00            10,000.00                 0.00                 0.00             10,000.00
    Other-Utilities                                                 92,294.78                     95,895.82             46,808.63            39,497.17            48,759.80            43,235.68            48,211.08           414,702.96
    Other-Payroll                                                                                 24,546.58             25,158.05            24,420.00            26,355.85            28,567.84            24,893.06            153,941.38
    Other-Repairs and Manteca                                                                     37,600.22             48,757.48            49,292.20            74,389.83            80,301.06            73,220.69           363,561.48
TOTAL OPERATING EXPENSES                                            92,294.78                 172,772.37               125,922.35           116,829.86           180,173.20           177,556.46           170,086.51         1,035,635.53
INCOME BEFORE INT. DEPR/TAX (MOR-1)                                194,386.27                 272,852.99               384,686.05           456,447.21           364,577.82           269,521.60           447,625.53         1,772,385.43
INTEREST EXPENSE"                                                  194,990,16                 194,990.16               194,990.16           194,990,16           194,990.16           194,990.16           194,990.16         1,364,931.12
DEPRECIATION                                                       121,550.58                 121,779.72               121,779.72           121,779.72           121,779.72           121,779.72           121,779.72           852,228.90
OTHER (INCOME) EXPENSE*
                                                                                                                                                                                                                                           0.00
OTHER ITEMS**
                                                                                                                                                                                                                                           0.00
TOTAL INT. DEPR & OTHER ITEMS                                      316,540,74                 316,769.88               316,769.88           316,769.88           316,769.88           316,769.88           316,769.88         2,217,160,02
NET INCOME BEFORE TAXES                                          -122,154.47                      -43,916.89            67,916.17           139,677,33            47,807.94           -47,248.28           130,855.65          -444,774.59
FEDERAL INCOME TAXES
                                                                                                                                                                                                                                           0.00
NET INCOME (LOSS) (MOR-I )                                    ($122,154.47)                 ($43,916.89)            $67,916.17         $139,677.33            $47,807.94          ($47,248.28)         $130,855.65          ($444,774.59)
Accrual Accounting Required. Otherwise Footnote with Explanation.
*   Footnote Mandatory.

* * Unusual and/or infrequent item(s) outside the ordinary course ofbusiness requires footnote.

               MOR-6                                                                                                                                                                                                    Revised 07/01/98


'Amounts collected before Whitney Bank Debtor-in-Poession Account opened. This account has been closed and outstanding amounts were deposited into the DIP Account.
2This amount is deducted each month from the Wells Fargo Lockbox Account controlled by the Secured Noteholder as adequate assurance.
                                                                      Case 18-36881 Document 201 Filed in TXSB on 08/22/19 Page 11 of 16



         CASE NAME:         L REIT, LTD.
        CASE NUMBER: 18-36881

                                                                    STATEMENT OF INCOME (LOSS)
                                                         MONTH                      MONTH                 MONTH               MONTH               MONTH               MONTH           MONTH           FILING TO
                                                         Jul. 2019                   AuK. 2019            Sep. 2019           Oct. 2019           Nov. 2019                                           DATE
REVENUES       (MOR-I)

I .) Wells Fargo Lock Box                                          585,383.09                      0.00                0.00                0.00                0.00            0.00            0.00         3,832,653.35
2.) Hancock Whitney Bank DIP Account                                         0.00                  0.00                0.00                0.00                0.00            0.00            0.00            157,552.48
3.) Trustmark Account1                                                       0.00                  0.00                0.00                0.00                0.00            0.00            0.00             20,910.25
TOTAL COST OF REVENUES                                                       0.00                  0.00                0.00                0.00                0.00            0.00            0.00                      0.00
GROSS PROFIT                                                       585,383.09                      0.00                0.00                0.00                0.00            0.00            0.00            585,383.09
OPERATING EXPENSES:

    Selling & Marketing                                              14,062.80                     0.00                0.00                0.00                0.00            0.00            0.00             43,896.10
    General & Administrative                                          9,223.64                     0.00                0.00                0.00                0.00            0.00            0.00             55,616.58
    Insiders Compensation                                              1,050.00                    0.00                0.00                0.00                0.00            0.00            0.00              18,253.47
    Professional Fees                                                        0.00                  0.00                0.00                0.00                0.00            0.00            0.00              10,000.00
    Other-Utilities                                                 57,565.56                      0.00                0.00                0.00                0.00            0.00            0.00           472,268.52
    Other- Payroll                                                  25,431.63                      0.00                0.00                0.00                0.00            0.00            0.00            179,373.01
    Other- Repairs and Manteca                                      63,673.90                      0.00                0.00                0.00                0.00            0.00            0.00           427.235.38
TOTAL OPERATING EXPENSES                                           171,007.53                      0.00                0.00                0.00                0.00            0.00            0.00         2,242,278.59
INCOME BEFORE INT, DEPR/TAX (MOR-I)                               414,375.56                       0.00                0.00                0.00                0.00            0.00            0.00            115,489.93
INTEREST EXPENSE2                                                  194,990.16                      0.00                0.00                0.00                0.00            0.00            0.00         1,559,921.28
DEPRECIATION                                                       121,550.58                      0.00                0.00                0.00                0.00            0.00            0.00            973,779.48
OTHER (INCOME) EXPENSE*
                                                                                                                                                                                                                         0.00
OTHER ITEMS**
                                                                                                                                                                                                                         0.00
TOTAL INT. DEI'R & OTHER ITEMS                                     316,540.74                      0.00                0.00                0.00                0.00            0.00            0.00         2,533,700.76
NET INCOME BEFORE TAXES                                             97,834.82                      0.00                0.00                0.00                0.00            0.00            0.00            270,772.27
FEDERAL INCOME TAXES
                                                                                                                                                                                                                         0.00
NET INCOME (LOSS) (MOR-I)                                        $97,834.82                       $0.00               $0.00               $0.00               $0.00           $0.00           $0.00         $270,772.27
Accrual Accounting Required. Otherwise Footnote with Explanation.
*   Footnote Mandatory.

* * Unusual and/or infrequent item(s) outside the ordinary course ofbusiness requires footnote.

               MOR-6
                                                                                                                                                                                                      Revised 07/01/98


1 Amounts collected before Whitney Bank Debtor-in-Poession Account opened. This account has been closed and outstanding amounts were deposited into the DIP Account.
"This amount is deducted each month from the Wells Fargo Lockbox Account controlled by the Secured Noteholder as adequate assurance.
                                                                                Case 18-36881 Document 201 Filed in TXSB on 08/22/19 Page 12 of 16



  CASE NAME:        L REIT, LTD.
 CASE NUMBER: 18-36881


[CASH RECEIPTS AND                                   MONTH                    MONTH                    MONTH                 MONTH                      MONTH                    MONTH                  MONTH                    HI. INC TO
[disbursements                                            Dec. 2018              Jan. 2010                Feb. 2019          Mar. 20 1 9                Apr. 2019                May. 2019              Jun. 2019                DATE
 1. CASH-BEGINNING OF MONTH1                                SI 33, 1 29,-16          SI 15,038.90              $97,774.67            S2S.S43.23                 $44,356.64               S42.I24.50             $41.587,55              S49 1,904,95
2. Secured Lender Escrow Accounts'                        SI, 267,540,88             SI 95.665.80          $349,220.30            $502,774.80               $656,329.30              $881,487.73            $981,827.66               S4.834.846.47
RECEIPTS:

 2. CASH SALES                                                     $0.00                   $0.00                   $0.00                     $0.00                    $0.00                   $0.00                   $0.00                     $0.00
 3. COLLECTION OF ACCOUNTS RECEIVABLE                              $0.00                   $0.00                   $0.00                     $0.00                    $0.00                   £0.00                   $0.00                     $0.00
 4.   LOANS & ADVANCES (atlacl) list)                              $0.00                   $0.00                   $0.00                     $0.00                    $0.00                   $0.00                   S0.00                     $0.00
 5. SALE OF ASSETS                                                 $0.00                   $0.00                   $0.00                     $0.00                    $0.00                   $0.00                   $0.00                     $0.00
 6. OTHER (aliach lisi)'                                   $286,681.05           $445,625.36              $510,608.40             $573,277.07               $544,751.02              $447,078.06            $573,513.31             $3,381,534,27
TOTAL RECEIPTS"                                           $286,681.05            $445,625.36              $510,608.40             $573,277,07               $544,751.02              $447,078.06             $573,513.31            $3,381,534.27
(Withdrawal) Contribution by Individual Debtor MFR-2*
                                                                                                                                                                                                                                                $0.00
DISBURSEMENTS:

 7.   NET PAYROLL                                                                       22.I8L82                 19,231.37                 25,600,38                20,617.37              27,084.19                23.S6I.32             138,576.45
 a. PAYROLL TAXES PAID                                                                   2,364.76                 4,421.56                  1 ,920,44                1 ,264.53               1,483.65                1 .483.65                12,938.59
 9. SALES, nSE&OIIII K I AXES PAID
                                                                                                                                                                                          20,587,61                      0.00              20,587.61
II). SECURED REN I At       ICASTS                                                             0.00                   0.00                      0.00                     0.00                   0.00                17,711,43                 17,71 1,43
it. irrn.rriES & n i it'Honi-                                $3,844,53                  89,26 1. 6 1            47,308.63           $39,997,14                $48,759.80                  43,235.68                 51,671,07            324.078.46
12    INSURANCE
                                                                                                                                                                                                                                                   0.00
13    INVENTORY PURCHASES
                                                                                                                                                                                                                                                   0.00
l-l. VTHKT.I EXPENSES
                                                                                                                                                                                                                                                   0,00
15. TRAVEL & ENTER 1 AIN'MI N I
                                                                                                                                                                                                                                                   0.00
16    REPAIRS. MAINIENANCI & Stil'I'l lluS
                                                                                                                                                                                                                                                   0.00
17    ADMINISTRATIVE A SI I I IN(i
                                                                                                                                                                                                                                                   0.00
18. oniEK (attach lisp'                                          9,512,87               5S.3S1.S1               55,393.98                  52,412.69                94.9SI.50              84,174,37                74,309,03             354.S57.22
TOTAL DISBURSEMENTS FROM OPERATIONS                             13,357,40              172,190,00               125,380.54             119,930.65                165.623.20               1 76,565.50            169.036.50               S6S.749.76
19. PROFESSIONAL IT-I S                                                                        0.00                   0.00                      0.00                10,000.00                   0.00                     0.00                 10,000.00
20, U.S. Illt'S II I FITS                                             0.00                 325.00                  975.00                       0.00                 4.550.00                   0.00                     0.00                  5,850.00
21. OTHER EIOKOANI/ATION EXPENSES (attach list)                                                                 95,825.20                                                                                                0.00              95,825.20
TOTAL DISBURSEMENTS"                                            13,357.40              172,515.00              222,180.74             119,930.65                 180,173.20               176,565.50             169,036.50               980.424.96
22. NET CASH FLOW                                             273,323.65               273,1 10.36             288,427,66             453,346.42                364,577.82               270,512.56             404,476.81              2,401,109.31
23. CASH - END OF MONTH (MOR-2)                           SI,662,993.99              S583.865.06           S3S6.202.33              $482,189,65               S408.934.46             $312,637,06             S446.064.36             52,893.014.26
                                              * Applies to Individual debtors only
               MOR-7                          "'Numbers for the current month should balance (match)
                                                                                                                                                                                                                                 Rented 0770 MR
                                                  RECEIPTS and CHECKS OTHER DISBURSEMENTS lines on MOR-8


'Represents deposits in Wells Fargo Lockbox, and Whitney Bank DIP Account. Does not account for amounts in Tax Escrow, Insurance Escrow or Reserve Escrow Accounts.
Represents deposits to Whitney DIP Account and Lockbox Account.
3See notes in MOR-8 regarding inadversant post-petition payments.
"Change in February reflects deduction of property taxes previously disclosed in January MORs but inadvertently lefts off MOR7.
                                                                                Case 18-36881 Document 201 Filed in TXSB on 08/22/19 Page 13 of 16



  CASE NAME:          L REIT, LTD.
 CASE NUMBER: 18-36881


ICASII RECEIPTS AND                                  MONTII                   MONTH                 MONTH                   MONTII                 MONTH                  MONTH            MONTH            FILING TO
[DISBURSEMENTS                                             Jul. 2019             Auu. 2019             Sep. 20 1 9          Pel. 30 1 9            Nov. 20 1 9                                              DATE
  1. CASH-BEGINNING OF MONTH                                  S44.I98.75
                                                                                                                                                                                                                   $536.103,70
2. Secured Lender Escrow Accounts'                          S332.9SI.91
                                                                                                                                                                                                                S5.I67.S2S.3S
RECEIPTS:

 2, C ASH SALES                                                   $0.00                 $0.00                  $0.00                      $0.00                  $0.00            $0.00            $0.00                  $0.00
 3. COLLECTION OF ACCOUNTS RECEIVABLE                             $0.00                 $0.00                  $0.00                      $0.00                  $0.00            $0.00            $0.00                  $0.00
 4. LOANS & ADVANCES (attach lisl)                                 $0.00               $0.00                   $0.00                      $0.00                  $0.00            $0.00            $0.00                  $0.00
 5. SALE OF ASSETS                                                 $0.00               $0.00                   $0.00                      $0.00                  $0.00            $0.00            $0.00                   $0.00
 6. OTHER (attach listf                                            $0.00               $0.00                   $0.00                      $0.00                  $0.00            $0.00            $0.00                   $0.00
TOTAL RECEIPTS"                                            $585,383.09                 $0.00                   $0.00                      $0.00                  £0.00            £0.00            $0.00      $3,966,917.36
 Withdrawal) Contribution by Individual Debtor VIFR-2*

DISBURSEMENTS:

 7, NEI I'AVUOI l.                                              23.857.98                    0.00                    0,00                   0.00                   0.00             0,00             0.00             162,434.43
 it. PAYROLL I AXES PAID                                         1,483.65                    0.00                    0.00                   0.00                   0.00             0.00             0,00               14,404,24
 9. SALES, USE & 01 HER TAXES PAID                                     0.00                                                                                                         0.00             0.00                     0.00
II). SliC't'KLI) Hl-NT Al. LEASES                               14.062,80                    0.00                    0.00                   0.00                   0.00             0.00             0.00              31.774.23
II. UTIL1IIFS& TELEPHONE                                    $58,065.56                       0.00                    0.00                 $0.00                  $0.00              0.00             0.00             382,144.02
12. INSURANCE                                                          0.00
                                                                                                                                                                                                                              0.00
1 3. INVEN I ( >RV I'l TXTIASES                                        0.00
                                                                                                                                                                                                                              0.00
14    VEIIKTI- EXPENSES                                                0.00
                                                                                                                                                                                                                              0.00
IS    IRAVEL& ENTERTAINMENT                                            0.00
                                                                                                                                                                                                                              0.00
16. REPAIRS. MAIN PENANCE & SUPPLIES                            56,409.51
                                                                                                                                                                                                                       56.409.51
17, ADMINIS IUA TIVE & SITTING                                   4,898.34
                                                                                                                                                                                                                         4.898.34|
18. OTHER (ultacli list)'                                        7,264,69                    0.00                    0.00                   0.00                   0.00             0.00             0.00             354,587,22
TOTAL DISBURSEMENTS FROM OPERATIONS                            166.132.53                    0.00                    0.00                   0.00                   0.00             0.00             0.00           1 .108.2 16.32
19    PROFESSIONAL FEES                                                0.00                  0.00                    0.00                   0.00                   0.00             0.00             0.00              10.000.00
20. US I RUSH7! FEES                                             4.S75.00                    0.00                    0.00                   0.00                   0.00             0.00             0.00               10,725.00
21. OTHER REORGANIZATION EXPENSES (attach list)                        0.00                  o.oo                    0.00                   0.00                   0.00             0.00             0.00              95.825.20
TOTAL DISBURSEMENTS"                                           171,007.53                    0.00                    0.00                   0.00                   0.00             0.00             0.00          1 2,24 1 .766.02
22. NEI CASH FLOW                                             414.375.56                     0.00                    0.00                   0.00                   0.00             0.00             0.00           2.742.150.84
23.    ASH - END III MONTH (MOR-2)                          S79 1, 556.22       ~       S0.00                   S0.00                     S0.00                  S0.00            S0.00            S0.00        $5,074,423.13
                                              * Applies to Individual debtors only
               MOR-7                          "Numbers for the current month should balance (match)
                                                                                                                                                                                                            HeriKii mmim
                                                  RECEIPTS and CHECKS/OTHER DISBURSEMENTS lines on MOR-8


 Represents deposits in Wells Fargo Lockbox, and Whitney Bank DIP Account. Does not account for amounts in Tax Escrow. Insurance Escrow or Reserve Escrow Accounts.
Represents deposits to Whitney DIP Account and Lockbox Account.
3See notes in MOR-8 regarding inadversant post-petition payments.
'Change in February reflects deduction of property taxes previously disclosed in January MORs but inadvertently lefts off MOR7.
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        CASE NAME:     L REIT, LTD.
       CASE NUMBER: 18-36881



                                                    CASH ACCOUNT RECONCILIATION
                                                     MONTH OF Jul. 2019


                                                                           Wells Fargo Bank                 Wells Fargo Bank      Wells Fargo Bank         Wells Fargo Bank
                                                                                            i
BANK NAME                                     Hancock Whiteny(DIP)             (LockBox)                      Tax Escrow2         Insruance Escrow3        Reserve Account3
ACCOUNT NUMBER                                    # 0049265333                                         #
ACCOUNT TYPE                                      OPERA TING             Secured Noteholder                Secured Noteholder    Secured Noteholder      Secured Noteholder              TOTAL
BANK BALANCE                                                67.827.60                 178,805.62                  $705,995.88             $87,026.66                 $312,375.00         1,352,030.76
DEPOSITS IN TRANSIT                                               0.00
                                                                                                                                                                                               $0.00
OUTSTANDING CHECKS                                           5,129.38
                                                                                                                                                                                           $5,129.38
ADJUSTED BANK BALANCE                                     $62,698.22               $178,805.62                    $705,995.88             $87,026.66                 $312,375.00       $1,346,901.38
BEGINNING CASH - PER BOOKS                                  44,198.73                                             $578,982.72             $74,594.28                 $267,750.00        $965,525.73
RECEIPTS*                                                  175,602.80                409,780.29                      96,497.12            $12,432.38                      $44.625.00    $738,937.59
TRANSFERS BETWEEN ACCOUNTS                                        0.00                          0.00                                                                                           $0.00
(WITHDRAWAL) CONTRIBUTION
OR                     BY DEBTOR
INDIVIDUAL             MFR-2                                      0.00
                                                                                                                                                                                               $0.00
CHECKS/OTHER DISBURSEMENTS'                                171,007.53                348,544.74                                                                                         $519,552.27
ENDING CASH - PER BOOKS                                   $48,794.00                $61,235.55                    $675,479.84             $87,026.66                 $312,375.00       $1,184,911.05

MOR-8                                        *Numbcrs should balance (match) TOTAL RECEIPTS and
                                                                                                                                                       Revised 07/0 1 m
                                              TOTAL DISBURSEMENTS lines on MOR-7


1Account maintained by Secured Noteholder.
2Upon information and belief a total of $1,069,286.52 was paid by the Secured Noteholder in January 2019 leaving a balance of $30,515.72.
JWells Fargo maintains these accounts as part of the Secured Noteholder's loan Agreement with L REIT. L REIT has no access to these accounts and has estimated the balances in these accounts.
''Deduction from LockBox paid to Secured Noteholder as adequate assurance.
General Note: After the Petition Date several automatic ACH Debits cleared. The following debits were made from the account to third party vendors
                                                                                                                                                   and take into account credit
adjustments.   L REIT will take action to recover amounts or obtain nunc pro tunc approval to pay the amounts.
                       Fora Financial                        $5,447,20 (Disputed Pre-petition creditor)
                       Aqua Online                           $3,844.53 (Water Bill for Properties)
                       Chase Bank                            $4,029.67 (Credit Card Bill)
                       Events and Petals                     $2,814.50 (Refunded by deposit on 1/22/18)
                       Stop Payment Fee                         $36.00
                                                       Case 18-36881 Document 201 Filed in TXSB on 08/22/19 Page 15 of 16




CASE NAME:          L REIT, LTD.
CASE NUMBER:        18-36881


                                      PAYMENTS TO INSIDERS AND PROFESSIONALS

Of the total disbursements shown for the month. list the amount paid to insiders (as defined in Section 101(31 )( A)-(F) of the U.S. Bankruptcy Code)
                                                                                                                                                      and the professionals
AlsoJbMT^                    thcMypiM^ompensatioi^             salary^commissioi^^                       additional pagies   as necessa


                                                    MONTH                     MONTH                    MONTH                        MONTH                MONTH                        MONTH                        MONTH
  INSIDERS: NAME'COMP            TYPE

                                                    Dec. 2018                 Jan. 2019                Feb. 2019                    Mar. 2019            Apr. 2019                   May. 2019                    Jun. 2019
 1 . Heron Lakes Golf Course       Landscaping                        0.00                5,759.91                       0.00                     0.00                        0.00                         0.00                       0.00
 2. Heron Lakes Golf Course           Security                        0.00                6.298.56                       0.00                     0.00                        0.00                         0.00                       0.00
  3 llollister Properties             Payroll*                         0.00                     0.00                     0.00                     0.00                        0.00                         0.00                       0.00
 3. Hollister Properties              Telephone                        0.00                 450.00                    500.00                    500.00                        0.00                       500.00                     500.00
 4.   Hollister Properties            Ans. Serv.                       0.00                   90.00                    100.00                   100.00                        0.00                       100.00                     100.00
 5. Hollister Properties              Poslage/DIv                      0.00                  135.00                    150.00                   150.00                        0.00                       150.00                     150.00
 6. Hollister Properties              Comp.                            0.00                  270.00                   300.00                    300.00                        0.00                       300.00                     300.00
 OTAL INSIDERS (MOR-1)                                              $0.00             $13.003.47                 $1,050.00                  $1,050.00                    $0.00                   $1,050.00                   $1,050.00


                                                    MONTH                     MONTH                    MONTH                        MONTH                MONTH                        MONTH                        MONTH
           PROFESSIONALS

                                                    Dec. 2018                 Jan. 2019                Feb. 2019                    Mar. 2019            Apr. 2019                   May. 2019                    Jun. 2019
 1.   Hoover Slovacek, LLP                                             0.00                     0.00                         0.00                 0.00                        0.00                         0.00                       0.00
 2. John Cartwright, C.P.A.
                                                                                                                                                                     10,000.00                             0.00                       0.00
 3.
 4.

 5.

 6.

(TOTAL PROFESSIONALS            (MOR-I)                             $0.00                    $0.00                     $0.00                    $0.00             $10,000.00                             $0.00                      $0.00

      MOR-9
                                                                                                                                                                                     Revised 07/01, OR            Revised 07/01 m
                                                         Case 18-36881 Document 201 Filed in TXSB on 08/22/19 Page 16 of 16



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CASE NUMBER:        18-36881



                                      PAYMENTS TO INSIDERS AND PROFESSIONALS

Of the total disbursements shown for the month, list the amount paid to insiders (as defined in Section 1 01(3 1 )(A)-(F) of the U.S. Bankruptcy Code) and the professionals.
Also, for insiders, identify the type of compensation paid (e.g., salary, commission, bonus, etc.) (Attach additional pages as necessary).

                                                     MONTH                     MONTH                    MONTH                     MONTH                   MONTH
  INSIDERS: NAME/COMP            TYPE

                                                     Jul. 2019                 Aug. 2019                Sep. 2019                 Oct. 2019               Nov. 2019
 I. Heron Lakes Golf Course        Landscaping                          0.00                     0.00                      0.00                    0.00                     0.00                     0.00                        0.00
 2. Heron Lakes Golf Course           Security                          0.00                     0.00                      0.00                    0.00                     0.00                     0.00                        0.00
  3 Hollister Properties              Payroll*                          0.00                     0.00                      0.00                    0.00                     0.00                     0.00                        0.00
 3. Hollister Properties              Telephone                      500.00                      0.00                      0.00                    0.00                     0.00                     0.00                        0.00
 4.   Hollister Properties            Ans. Scrv.                     100.00                      0.00                      0.00                    0.00                     0.00                     0.00                        0.00
 5.   Hollister Properties            Postage/Dlv                    150.00                      0.00                      0.00                    0.00                     0.00                     0.00                        0.00
 6. Hollister Properties              Comp.                          300.00                      0.00                      0.00                    0.00                     0.00                     0.00                        0.00
TOTAL INSIDERS (MOR-I)                                          $1.050.00                      $0.00                    $0.00                   $0.00                     $0.00                     $0.00                       $0.00


                                                     MONTH                     MONTH                    MONTH                     MONTH                   MONTH                     MONTH                    MONTH
           PROFESSIONALS

                                                     Jul. 2019                 Aug. 2019                Sep. 2019                 Oct. 2019               Nov. 2019
 I . Hoover Slovacek, LLP                                               0.00                     0.00                      0.00                    0.00                     0.00                     0.00                        0.00
 2. John Cartwright, C.P.A.
                                                                                                                                                                                                                                 0.00
 3.

 4.

 5.

 6.

TOTAL PROFESSIONALS             (MOR-I)                              $0.00                     $0.00                    $0.00                   $0.00                     $0.00                     $0.00                       $0.00

      MOR-9
                                                                                                                                                                                   Revised 07/Oim           Revised 07/111 VR
